
99 N.Y.2d 638 (2003)
DAVID J. WEISSMAN, Appellant,
v.
ANNE H. WEISSMAN, Respondent.
Court of Appeals of the State of New York.
Submitted February 24, 2003.
Decided April 1, 2003.
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as dismissed the appeal from the qualified domestic relations order (QDRO), dismissed upon the ground that appellant is not a party aggrieved (see CPLR 5511); motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as affirmed Supreme Court's order denying appellant's motion to vacate the QDRO and stipulation, dismissed upon the ground that such part of the order does not finally determine the action within the meaning of the Constitution.
